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                                                                        May 31, 2019

      VIA ELECTRONIC FILING
      Honorable Andrew T. Baxter
      U.S. Magistrate Judge
      United States District Court
      Northern District of Nevv York
      Federal Building and U.S. Courthouse
      Syracuse, New York 13261-7396

               Re:      John Doe v. Colgate University, et al.
                        Civil Action No.: 5:17-cv-01298-FJS/ATB

      Dear Magistrate J~.dge ~3axter:

              The undersigned is counsel to plaintiff John Doe ("Plaintiff') in the above referenced
      matter. We write to respectfully request an extension of the current substantive motion deadline.

              We have consulted with Laura Harshbarger of Bond Schoeneck and King,PLLC who does
      not object to the proposed deadline extension as set forth below:

               Dispositive Motion deadline extended from July 8, 2019 to July 29, 2019.

            Plaintiffs counsel makes this request due to having two trials scheduled to commence in
      mid-July, one in State Court in New York and one in Federal Court in Colorado.

               Thank you for your consideration.

                                                                      NESENOFF & MILTEl~TBERG,LLP

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                                                                      Andrew T. Miltenberg, Esq.
                                                                      Tara J. Davis, Esq.
                                                                      Nicholas Lewis,Esq.

      cc:      Laura H. Harshbarger, Esq. (via email
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